  Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 1 of 32




                                    EXPERT REPORT


                               DAVID A. KESSLER, M.D.




                                   QUALIFICATIONS


1. My name is David A. Kessler, M.D. I received my M.D. degree from Harvard

Medical School in 1979 and my J.D. degree from the University of Chicago Law School

in 1978. I did my pediatrics training at Johns Hopkins Hospital.


2. I was appointed by President George H. W. Bush as Commissioner of the United

States Food and Drug Administration and confirmed by the United States Senate. I

served in that position also under President William Jefferson Clinton until February

1997.


3. I have taught food and drug law at Columbia Law School. I have testified many times

before the United States Congress on food and drug issues. I have published numerous

articles in legal, medical, and scientific journals on the federal regulation of food, drugs,

and medical devices over the last thirty years. A list of my published books and articles,

address, cases that I have appeared as witness in the last four years, and expert witness

fee is attached in Appendix A.


4. As Commissioner, I acted to speed approval of new drugs and placed high priority on

getting promising therapies for serious and life-threatening diseases to patients as quickly


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  Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 2 of 32




as possible. I introduced changes in the device approval process to ensure that it meets

high standards. During my tenure as Commissioner, the FDA announced a number of

new programs, including: the regulation of the marketing and sale of tobacco products to

children; nutrition labeling for food; user fees for drugs and biologics; preventive controls

to improve food safety; measures to strengthen the nation’s blood supply; and the

MEDWatch program for reporting adverse events and product problems. I created an

Office of Criminal Investigation within the agency.


5. I have served in numerous academic medical positions including Professor of

Epidemiology and Biostatistics and Pediatrics.




                                 THE FDA’S MISSION


6. The Food and Drug Administration (FDA) is one of the nation’s most important

consumer protection agencies. It is responsible for implementing the nation’s food and

drug laws. In 1962, as a result of the thalidomide tragedy where a drug that was

marketed abroad, but not in the United States, was responsible for thousands of babies

born with abnormal limbs, the United States Congress passed the Kefauver-Harris

Amendments, which for the first time required the preclearance of all new drugs. Those

Amendments required that before a drug company (called the “sponsor”) could introduce

in interstate commerce a new drug, the sponsor was required to scientifically establish

that the drug was “safe and effective.” The 1962 Amendments significantly changed how




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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 3 of 32




the FDA regulated new drugs. 1 First, it required a positive act on the part of the FDA—

prior to the Amendments, drugs were allowed to go on the market unless the FDA

disapproved their use. Second, the Amendments added the requirement that new drugs

must be proven to be “effective” as well as safe. 2 Third, they required that effectiveness

be established by “substantial evidence” that demonstrated that the drug will have the

effects it purports to have under the conditions of use set out in the drug’s labeling. 3 And

fourth, they defined “substantial evidence” as evidence consisting of “adequate and well-

controlled investigations, including clinical investigations….” 4 The 1962 Amendments

ushered in the modern era of drug development and evaluation. The statutory

requirement of “adequate and well-controlled investigations” shifted drug development

and testing to a scientifically based framework that has resulted in significant medical

advances. Those Amendments helped shape the FDA requirements into the “gold

standard” for the world.




1
    Drug Efficacy and the 1962 Drug Amendments, 60 Geo. L. J 185, (1965)
2
    21 U.S.C. § 355(d)
3
    21 U.S.C. § 355(d)(5)
4
    21 U.S.C. § 355(d)


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 4 of 32




                            THE FDA STANDARDS FOR APPROVAL


7. Under the nation’s food and drug laws, a drug may not be introduced into interstate

commerce unless its sponsor has shown that the drug is safe and effective for the

intended conditions of use. 5


8. The law requires that “adequate and well-controlled investigations” be used to

demonstrate a drug’s safety and effectiveness. 6


9. The FDA approves a drug if there are “adequate and well-controlled clinical trials”

that demonstrate a drug’s safety and effectiveness for its “intended conditions” of use. 7


10. The “intended conditions” for use of a drug are listed in the drug’s labeling which is

reviewed and approved by the FDA. 8


11. Indications for use that are not listed in a drug’s labeling have not been approved by

the FDA. 9




5
    21 U.S.C.§ 321
6
    21 U.S.C. § 355(d)
7
    21 U.S.C. § 355(d)(5)
8
    21 U.S.C. § 355(d)(1) &(2)
9
    “The labeling is derived from the data submitted with the new drug application. It presents a full

disclosure summarization of drug use information, which the supplier of the drug is required to develop

from accumulated clinical experience and systemic drug trials of preclinical investigations and adequate,

well-controlled clinical investigations that demonstrate the drug’s safety and the effectiveness it purports or

is represented to possess.” 37 Fed. Reg. 16,503 (1972)


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 5 of 32




        THE FDA’S SCIENTIFIC STANDARDS TO ESTABLISH SAFETY AND
                                           EFFECTIVENESS

12. The standards that govern the FDA safety and effectiveness requirements are

contained in statutes, regulations, notices, and guidance documents.


13. The statutory requirement that a drug’s effectiveness be demonstrated by “adequate

and well-controlled clinical investigations” has been interpreted to mean a clinical study

with 1) clear objectives; 2) adequate design to permit a valid comparison with a control

group; 3) adequate selection of study subjects; 4) adequate measures to minimize bias;

and 5) well defined and reliable methods of assessing subjects responses to treatment. 10


14. The FDA has published a notice that set forth general principles for the conduct and

performance of clinical trials. These principles have been adopted not only by the

agency, but also by the International Conference on Harmonisation which includes the

world’s leading medicine control agencies. 11 Those principles include the following

standards for the conduct of clinical trials to support an agency decision that a drug is

safe and effective for its intended conditions for use:


a. The need for trials to be controlled --


“Trials should have an adequate control group. Comparisons may be made with placebo,

no treatment, active controls, or of different doses of the drug under investigation. The



10
     21 C.F.R. § 314.26
11
     International Conference on Harmonisation : Guidance on General Considerations for Clinical Trials 62

Fed. Reg. 66113 (December 17, 1997)


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  Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 6 of 32




choice of the comparator depends on, among other things, the objective of the trial… .

Historical (external) controls can be justified in some cases, but particular care is

important to minimize the likelihood of erroneous inference.”


b. The need for trials to be randomized --


“In conducting a controlled trial, randomized allocation is the preferred means of

assuring comparability of test groups and minimizing the possibility of selection bias.”


c. The need for trials to be blinded --


“Blinding is an important means of reducing or minimizing the risk of biased study

outcomes. A trial where the treatment assignment is not known by the study participant

because of the use of placebo or other methods of masking the intervention is referred to

as a single blind study. When the investigator and sponsor staff who are involved in the

treatment or clinical evaluation of the subjects and analysis of data are also unaware of

the treatment assignments, the study is double blind.”


d. The need for objective and prospectively determined trial endpoints --


A drug’s effectiveness is determined if the drug has an effect on an “endpoint.” That

endpoint can be a clinical benefit, such as survival or a reduction of pain as measured on

a validated pain scale; a clinical measurement, such as blood pressure; and, in some

cases, a laboratory measurement, such as the amount of virus in the blood stream. All

endpoints need to reflect clinical benefit. An endpoint that indirectly reflects a clinical

benefit, such as a laboratory measurement, is known as a “surrogate endpoint. Endpoints

should be defined prospectively (i.e., before the trial begins), giving descriptions of

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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 7 of 32




methods of observation and quantification. Objective methods of observation should be

used where possible and when appropriate. A primary endpoint(s) should reflect

clinically relevant effects and is typically selected based on the principal objective of the

study. Secondary endpoints assess other drug effects that may or may not be related to

the primary endpoint. Endpoints and the plan for their analyses should be prospectively

specified in the protocol. The methods used to make the measurements of the endpoints,

both subjective and objective, should be validated and meet appropriate standards for

accuracy, precision, reproducibility, reliability, and responsiveness (sensitivity to change

over time).


15. The FDA has addressed the need for reproducibility and reliability of clinical data in

the trials that support a drug’s approval. The FDA generally requires two pivotal

adequate and well-controlled trials to support approval, except in certain circumstances.

As stated by the FDA in the 1998 Guidance to the Industry, 12 “it has been FDA's

position that Congress generally intended to require at least two adequate and well-

controlled studies, each convincing on its own, to establish effectiveness. (See e.g., Final

Decision on Benylin, 44 FR 51512, 518 (August 31, 1979); Warner-Lambert Co. v.

Heckler, 787 F. 2d 147 (3d Cir. 1986)). FDA’s position is based on the language in the

statute and the legislative history of the 1962 amendments. Language in a Senate report

suggested that the phrase "adequate and well-controlled investigations" was designed not

only to describe the quality of the required data but the "quantum" of required evidence.



12
   U.S. Department of Health and Human Services, Food and Drug Administration, Center for Drug
Evaluation and Research (CDER), Center for Biologics Evaluation and Research (CBER) Guidance for
Industry: Providing Clinical Evidence of Effectiveness for Human Drugs and Biological Products. May
1998

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  Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 8 of 32




(S. Rep. No. 1744, Part 2, 87th Cong. 2d Sess. 6 (1962)). Nevertheless, FDA has been

flexible within the limits imposed by the congressional scheme, broadly interpreting the

statutory requirements to the extent possible where the data on a particular drug were

convincing. In some cases, FDA has relied on pertinent information from other adequate

and well-controlled studies of a drug, such as studies of other doses and regimens, of

other dosage forms, in other stages of disease, in other populations, and of different

endpoints, to support a single adequate and well-controlled study demonstrating

effectiveness of a new use. In these cases, although there is only one study of the exact

new use, there are, in fact, multiple studies supporting the new use, and expert judgment

could conclude that the studies together represent substantial evidence of effectiveness.

In other cases, FDA has relied on only a single adequate and well-controlled efficacy

study to support approval — generally only in cases in which a single multicenter study

of excellent design provided highly reliable and statistically strong evidence of an

important clinical benefit, such as an effect on survival, and a confirmatory study would

have been difficult to conduct on ethical grounds. In section 115(a) of the Modernization

Act, Congress amended section 505(d) of the Act to make it clear that the Agency may

consider ‘data from one adequate and well-controlled clinical investigation and

confirmatory evidence’ to constitute substantial evidence if FDA determines that such

data and evidence are sufficient to establish effectiveness. In making this clarification,

Congress confirmed FDA’s interpretation of the statutory requirements for approval and

acknowledged the Agency’s position that there has been substantial progress in the

science of drug development resulting in higher quality clinical trial data.”




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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 9 of 32




16. The FDA usually considers one clinical trial insufficient to support approval.13 The

cases where the FDA has approved a drug on the basis of one clinical trial plus

confirmatory evidence are rare. They include instances of large, independently

conducted multicenter trials with strong empirical results, with internal consistency

across multiple outcomes, such that “sponsors faced ethical boundaries” in conducting a

second placebo-based trial.


17. Clinical trials that are not controlled, blinded, randomized and whose endpoints are

not prospectively and objectively determined and measured may be used in early stage

drug development phases, but are exceptionally unlikely to qualify as “adequate and

well-controlled” clinical trials needed to support FDA approval.


                                  REVIEW OF DOCUMENTS


18. I have reviewed the documents provided to me in Appendix B to this report. Based

on a review of those documents, I have made a number of observations that are detailed

below.




                     THE FDA APPROVED USES OF NEURONTIN


19. Neurontin was approved for adjunctive therapy (used in addition to other drugs) for

specific types of seizures. On December 30, 1993, 14 The FDA’s Robert Temple, M.D.



13
   Peck CA, and Wechsler MA Report of a Workshop on Confirmatory Evidence to Support a Single
Clinical Trial as a basis for New Drug Approval, Drug Information Journal, Vol. 36, pp. 517–534, 2002
14
   WLC FRANKLIN 0000151674-679


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 10 of 32




wrote to Parke Davis that the drug is indicated as adjunctive therapy in the treatment of

partial seizures with and without secondary generalization in patients over 12 years of

age with epilepsy. The FDA concluded that the effectiveness of Neurontin as adjunctive

therapy was established in three multicenter placebo-control double-blind parallel group

clinical trials involving 705 adults with refractory partial seizures. The patients enrolled

had a history of partial seizures in spite of receiving one or more anti-epileptic drugs.


20. The FDA concluded that the effective dose in the management of seizures is 900 to

1800 mg/day and is given in divided dose in adults. 15


21. On October 12, 2000, FDA’s Dr. Russell Katz wrote to Parke Davis that Neurontin

was approved as adjunctive therapy in the treatment of partial seizures in pediatric

patients age three years and above. 16


22. On May 24, 2002, Neurontin was also approved for the management of postherpetic

neuralgia. FDA’s Dr. Cynthia McCormick 17 wrote to Parke Davis that, “This new drug

application provides for the use of Neurontin (gabapentin) tablets, capsules and oral

solution for the management of postherpetic neuralgia. We have completed the review of

this application, as amended, and have concluded that adequate information has been

presented to demonstrate that the drug product is safe and effective for use as recommended

in the agreed upon enclosed labeling text.” FDA’s approval of Neurontin for use in

postherpetic neuralgia was based on the data in two randomized, double-blind, placebo-


15
     WLC FRANKLIN 0000151689
16
     Pfizer MPatel 0202487
17
     Pfizer MPatel 0202485, Pfizer LCastro 0012132-68


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 11 of 32




controlled, multicenter studies. The FDA concluded that there were significant

differences in pain rating scales in those patients receiving the drug as compared to

placebo at the doses tested. A significant reduction in weekly mean pain scores was seen

by Week 1 in both studies, and significant differences were maintained to the end of

treatment.




      THE FDA REJECTED USES OF NEURONTIN AS MONOTHERAPY FOR

                                 SEIZURES IN ADULTS


23. The FDA refused to approve the use of Neurontin as monotherapy for certain

seizures in adults. On August 26, 1997, 18 FDA’s Paul Leber, M.D. wrote to Parke Davis

and said that “we have concluded that a claim for Neurontin's use as monotherapy cannot be

granted based on the evidence we have in hand.”


24. Specifically, Dr. Leber stated that, “At the present time, you have submitted reports of

four controlled clinical trials (Studies 945-088, 945-077, 945-082, 945-177) that, by design,

should have been capable of assessing Neurontin's capacity, when used as monotherapy, to

reduce the intensity and/or frequency of seizures in patients with epilepsy. In fact, two of

the four studies (Study 945-088 and 945-077) have provided statistically significant results

on the outcome measures identified in their protocols. However, although this evidence

might, on face, seem sufficient to meet the regulatory test of substantial evidence of




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     WLC CBU 041537-39


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 Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 12 of 32




effectiveness, detailed examination of the data does not support the approval of a claim for

Neurontin when given as the sole antiepilepsy drug (AED).”


“In our view, the evidence, taken as a whole, is inconclusive. While Study 945-088 does

provide 'proof of principle' support for a conclusion that Neurontin has some capacity to

reduce the incidence of partial seizures in patients with chronic recidivistic epilepsy, the

time interval investigated (i.e., 8 days) is so short that the finding has little, if any,

relevance to the proposed conditions of use of the marketed product either in chronic or

newly diagnosed patients. The only other study in the chronic recidivistic population

(Study 945-082) failed to yield evidence of effectiveness.”


“Although Study 945-077 does provide what can be considered direct support for a

monotherapy claim in patients with recently diagnosed epilepsy, the absence of a confirming

corroborative study makes a conclusion that Neurontin is effective when given as

monotherapy (even in this sub-group) unjustified. Moreover, the positive result of 945-

077 is due to its effect on an outcome for which Neurontin is not currently approved for use

(generalized tonic clonic seizures).”


“Consequently, we have concluded that a claim for Neurontin's use as monotherapy cannot

be granted based on the evidence we have in hand. We acknowledge that, our present

decision notwithstanding, available evidence does suggest that Neurontin may be effective

in monotherapy, especially in newly diagnosed epileptic patients. However, before a claim

for use in newly diagnosed patients could be approved, you would have to present results




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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 13 of 32




from a second adequate and well-controlled clinical investigation corroborating the findings

of Study 945-077.” 19


25. In response to the FDA’s refusal to approve Neurontin for monotherapy for certain

seizures in adults, Parke Davis amended its application 20 to include the use of Neurontin

as monotherapy of partial seizures in adult patients who have not been previously treated

with antiepileptic drugs.


26. On April 24, 1998, FDA’s Paul Leber 21 again rejected Parke Davis’s application for

Neurontin use as “monotherapy in partial seizures in adults.” Dr Leber wrote, “[W]e have

concluded that your application fails to provide substantial evidence that Neurontin is

effective in use when administered as monotherapy for partial seizures in adults.

Accordingly, this supplemental application is not approvable under section 505(d) of the

Act and 21 CFR 314.125(b).”


27. As a basis for its refusal of Neurontin as monotherapy, Dr. Leber wrote, “In the

course of evaluating your application, the agency has considered not only the findings of the

controlled clinical trials reported to the NDA file, but the arguments advanced by your firm, both

in the NDA and in the course of verbal discussions with the Division's scientific/medical staff,

explicating why it considers the evidence, despite the absence of independent substantiation of

Neurontin's effectiveness when administered as the sole antiepileptic drug (AED) in a second

adequate and well-controlled clinical trial, sufficient to support approval of the NDA.” Dr.


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     WLC CBU 041538
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     Pfizer LCastro 0001212
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     Pfizer LCastro 0001212


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 14 of 32




Leber went on to write, “Basically, your firm argues that: 1) Study 077, on its own, provides

what is tantamount to independent substantiation of Neurontin's effectiveness as monotherapy

because the clinical outcomes of patients randomized to both the 900 and 1800 mg/day treatment

groups were superior (i.e., statistically significantly different) to the average outcome of patients

randomized to the placebo group; 2) the failure of Study 177 to confirm the effectiveness of

Neurontin cannot be taken as evidence undermining the findings of Study 077 because Study 177

was not adequately powered to detect a treatment effect of the size realized in Study 077; 3) A

draft of an agency document Providing Clinical Evidence of Effectiveness for Human Drug and

Biological Products indicates that the affirmative findings of one adequate and well-controlled

clinical study could be sufficient to support a claim for an AED's use as monotherapy if the

product was already known to be effective in use as a component of a multi-AED regimen for

the same seizure type, and; 4) The Agency has in the past approved an NDA for the use of a

drug as monotherapy in epilepsy on the basis of the results of but a single monotherapy study,

and, accordingly, that is the standard of evidence that should be required of Neurontin.”


Dr. Leber concluded, “These arguments are not compelling.”22




     THE FDA DID NOT APPROVE NEURONTIN FOR USE IN NEUROPATHIC PAIN


28. A supplemental New Drug Application was filed with the FDA for broad neuropathic pain on

August 6, 2001. This application included two post herpetic neuralgia (PHN) studies, two




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     Pfizer LCastro 0001213


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 15 of 32




Diabetic peripheral neuropathy (DPN) studies, and one study in mixed neuropathic pain

(MNP).23


29. According to the minutes of a meeting May 14, 2001 between the FDA and the

company, the FDA indicated that “a broad claim for the indication ‘management of

neuropathic pain’ cannot be granted at this time.”24


30. Pfizer’s record of the meeting stated that “[t]he Division does not consider ‘management of

neuropathic pain’ a viable indication at this time. They plan to hold an advisory committee

meeting later this year to discuss the various conditions associated with neuropathic pain, and

whether a number of conditions could be studied such that a general claim could be granted.

This is the message they have given to sponsors since they became responsible for this area

(approximately 10 months ago).” 25


31. The FDA noted that “[i]n order for a general neuropathic indication to be granted, the

sponsor must provide evidence that the underlying disease process is similar for DPN, PHN, and

the pain of other neuropathic disorders and/or that the drug is effective for the neuropathic pain of

all (or at least most) etiologies.”


32. The FDA also noted that additional studies would be necessary. The FDA stated that

“the sponsor must provide evidence of efficacy replicated in a second study for DPN. This trial

must be 12 weeks in length at fixed doses, as required for a chronically administered drug. The



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     Pfizer LCastro 0010557
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     Pfizer LCastro 0005155
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     Pfizer LCastro 0005155


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 16 of 32




sponsor must also incorporate electrophysiological measurements in order to show that the

improvement in pain is not due to sensory loss. Sensory exams are not easily reproduced and will

not reliably detect sensory loss due to nerve death. The two studies for the PHN indication have

shown efficacy at different doses. The sponsor must provide evidence of dose replication in order

for clinicians to arrive at a proper prescribing dose.”26 Consistent with its policy on the quantum

of evidence required to support approval,27 the FDA required the company to replicate its clinical

trial and would not approve the drug based on one clinical trial alone.

33. In an addendum to the FDA minutes, the FDA “indicated that an application with a

general neuropathic pain indication would not be refused to file a priori. Rather, the indication

will be a review issue with burden on the sponsor to scientifically support it.” 28


34. Pfizer’s consultants counseled that the FDA would not approve Neurontin for use in

neuropathic pain. Draft minutes of a September 6, 2001 29 meeting of company

consultants stated, “[e]xpert opinion on general preclinical and clinical data to date is

that the evidence is not convincing to support a broad neuropathic pain claim based upon

clinical results with one or two types of etiologies. 30 Opinion on the Neurontin

neuropathic pain package is that neither the FDA nor the Advisory Committee is likely to

agree that adequate evidence is provided for a broad indication. New analyses/data not

only do not support the broad claim, they provide evidence contrary to a broad


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     Pfizer LCastro 0005621
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     See Paragraphs 15 and 16 supra
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     Pfizer AGarrity 0002500
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     Pfizer LKnapp 0024958
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     Underlines appear in original apparently to reflect edits


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 17 of 32




indication.” The minutes reflected that among the experts “[t]here was a clear consensus

that a broad claim with any drug is not possible at this time. The available preclinical

data are supportive of the theory, however, mechanisms are incompletely understood and

insufficient to make a compelling case. There is insufficient-even less clinical evidence

to make the general… 31 case.” According to the minutes, the experts further counseled

that “[w]hile the Neurontin package (2 studies in PHN and I study in DPN) alone was not

considered adequate as supporting a broad claim, new analyses from the 945-306 study in

the NDA and a recently completed Nordic study (945-271) add substantial evidence

against a broad neuropathic pain claim. Statistical significance in 945-306 is the [sic]

predominantly the result of the PHN patients (in addition to a small number of DPN

patients) in the study. Patients with neuropathic pain types other than PHN or DPN had

much less of a treatment effect (-0.3 for patients with other pain syndromes compared

with -1.8 for PHN and DPN patients). Study 945-271, patients with posttraumatic and

postsurgical neuropathic pain, was negative in primary outcome (VAS scale).”


35. On October 22, 2001, Pfizer informed the FDA32 that it was “appropriate to amend the

proposed indication in its pending New Drug Application” to “management of neuropathic pain

associated with postherpetic neuraligia at this time,” and that “narrowing the proposed indication

may require some new analyzes and presentations” to allow the FDA to complete its review. On




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     Underlines appear in original apparently to reflect edits
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     Pfizer LCastro 0007275


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 18 of 32




November 6, 2001, Pfizer sent the FDA33 a proposed timeline for submission of documents and

datasets to support its amended application.


36. In its labeling review of Neurontin for use in post herpetic neuralgia, the FDA did not approve

the indication submitted by Pfizer which stated “Neurontin® (gabapentin) is indicated for the

management of neuropathic pain associated with postherpetic neuralgia” but rather

changed it to read “Neurontin® (gabapentin) is indicated for the management of post

herpetic neuralgia.”34



            THE FDA DID NOT APPROVE NEURONTIN FOR USE IN DIABETIC
                              PERIPHEREAL NEUROPATHIC PAIN

37. The FDA made clear to Pfizer that it would require certain tests to approve Neurontin for use

in Diabetic Peripheral Neuropathy. According to minutes of a meeting with the FDA,35 on May

14, 2001, the FDA stated “The sponsor must provide evidence of efficacy replicated in a second

study for DPN. This trial must be 12 weeks in length at fixed doses, as required for a chronically

administered drug. The sponsor must also incorporate electrophysiological measurements in order

to show that the improvement in pain is not due to sensory loss. Sensory exams are not easily

reproduced and will not reliably detect sensory loss due to nerve death.




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     Pfizer LCastro 0008060
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     Pfizer LCastro 0011577
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     Pfizer LCastro 0005621


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 19 of 32




38. Based on the data submitted to the FDA, the FDA stated36 “The Division does not believe that

a Neurontin DPN submission would be fileable at this time, as efficacy has not been replicated. An

additional trial would be needed.”


39. Company consultants counseled Pfizer that obtaining the FDA approval for Neurontin in

diabetic peripheral neuropathy was unlikely. Company minutes of a consultants meeting stated

“Evidence for DPN is confounded by the negative DPN study. The Experts would not recommend

the current package be presented at an Advisory Committee meeting.” 37 “There was consensus

that there was a low probability of success with current package; i.e., one positive study that

evaluated 3600 mg, and one negative study (945-224). The large placebo effect and 2400 mg/day

appearing worse than 120 (sic) mg/day in this dose-response study (600, 1200, 2400 mg/day) was

particularly viewed as problematic. Another positive, well-controlled study is likely needed to

overcome this study.”38


40. As noted above, on May 14, 2001, the FDA told Pfizer that an application to support the

indication for diabetic peripheral neuropathy needed to include a second study at fixed doses.39 On

January 17, 2002,40 Pfizer submitted an investigational new drug application to undertake a 15-

week randomized, double-blind, placebo-controlled, parallel group, multicenter study of

Neurontin for efficacy and quality of life in patients with painful diabetic peripheral




36
     Pfizer LKnapp 0047459
37
     Pfizer LKnapp 0013491
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     Pfizer LKnapp 0013493
39
     Pfizer AGarrity 0002493-97; Pfizer LCastro 0005618
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     Pfizer LCastro 0008368-69


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 20 of 32




neuropathy. Pfizer acknowledged that the trial it was submitting was not the trial the

agency had requested. “We will submit another protocol (Protocol 945-440) in the near

future that is intended to fulfill the Agency's expectations for that registration trial.” On

February 27, 2002,41 Pfizer submitted the requested study (Protocol 945-440). On May 31,

2002,42 Pfizer cancelled Protocol 945-440.


        FDA DID NOT APPROVE DOSE RECOMMENDATIONS IN NEURONTIN’S
                          LABELING GREATER THAN 1800 MG/DAY

41. In a letter dated August 26, 199743 from FDA’s Paul Leber to Parke Davis , the FDA stated,

“the supplemental application provides for the following: an increase in the effective dose range to

include 3600 mg/day…. We are not able to grant changes in these labeling statements because

experience gained at these higher doses in monotherapy trials cannot support the safety of these

doses when given as adjunctive therapy, the only currently approved condition of use. If you make

a suitable presentation of safe passage data gained at higher doses in adjunctive therapy, we would

consider allowing that information to be included in labeling, provided it was accompanied by a

statement advising that the evidence from controlled trials fails to provide evidence that higher

doses of Neurontin are more effective than those recommended.” In May 2002, the FDA did

not approve the dosage for PHN submitted by Pfizer which stated, “The dose can

subsequently be titrated up as needed for pain relief to a maximum daily dose of 3600

mg” and that there was “greater efficacy with increasing dose,” 44 but rather changed it to


41
     Pfizer LCastro 0010379-81
42
     Pfizer MYoder 0000920
43
     WLC CBU 041537-39
44
     Pfizer LCastro 0011563


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 21 of 32




read: “Additional benefit of using doses greater than 1800 mg/day was not

demonstrated.” 45




 THE FDA DID NOT APPROVE NEURONTIN FOR USES BEYOND THOSE LISTED
                                   IN THE DRUG’S LABELING.

42. Neurontin’s labeling states that the drug is approved for two indications, adjunctive therapy for

partial seizures, and post herpetic neuralgia.


43. Other indications that are not listed on the drug’s labeling are not FDA approved indications.


44. There is no evidence in the documents that I reviewed that Parke Davis or Pfizer submitted data

to the FDA for Neurontin’s use in bipolar and other mood disorders, migraine, nociceptive, and non

neuropathic pain.




     THE FDA NOTIFIED PARKE-DAVIS THAT IT WAS CONCERNED THAT PARKE
     DAVIS MAY HAVE BEEN PROMOTING NEUROTIN FOR “OFF LABEL” USES

45. On July 19, 1996,46 FDA’s Dr. Lesley Frank wrote to Parke Davis’s Dr. William Merino that

“FDA is concerned that Parke-Davis may be promoting Neurontin for ‘off-label’ uses, i.e., any

use beyond the FDA-approved indications, in printed promotional materials, in detail or sales

presentations to physicians, and through the use of company-solicited physician participation in a

series of teleconferences. FDA is initiating an inquiry that will focus on these concerns. These


45
     Pfizer LCastro 0011868; Pfizer MPatel 007787
46
     WLC CBU 057865-73


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 22 of 32




promotions of Neurontin for off-label uses include, but are not limited to, its use in chronic pain,

bipolar disorders, and other psychiatric conditions. As you are aware, Neurontin's only approved

indication is as adjunctive therapy in the treatment of partial seizures with and without secondary

generalization in adults with epilepsy.”




 THE FDA NOTIFIED PFIZER THAT CERTAIN PROMOTIONAL MATERIAL FOR
 NEURONTIN WAS MISLEADING AND IN VIOLATION OF THE FEDERAL FOOD
           DRUG AND COSMETIC ACT AND ITS APPLICABLE REGULATIONS

46. FDA’s Dr. Lisa Stockbridge notified47 Pfizer’s Andrea Garrity in a letter of June 29, 2001, that

certain of the company’s promotional material “misleadingly claims improvement in quality of

life (QOL) parameters based on the Neurontin Evaluation of Outcomes in Neurological

Practice (NEON) study. Among other QOL parameters, the misleading presentation

includes improvement in social limitations, memory difficulties, energy level, and work

limitations. The NEON study is not considered to be substantial evidence for claims of

QOL improvements because it is not a controlled study.” The FDA asked the company to

immediately discontinue use of the promotional materials and supply the agency with a list

of all promotional materials with the same or similar issues and its methods for

discontinuing these promotional materials.


47. An internal Pfizer slide presentation 48 concerning the FDA letter had listed the

following bullets under “Action:”


47
     Pfizer RGlanzman 0054596-609
48
     Pfizer LCastro 0006580-85


                                                                                                  22
     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 23 of 32




           --“Discontinued used of Slim Jim and all other pieces with mention of NEON…”


           --“Discontinued use of bounded materials that included STEPS quality of life data”

           --“It was felt that DDMACs comments also applied to the use of STEPS efficacy and
           tolerability data”

           --“No agreement at RC level regarding discontinuing use of STEPS data in promotion.
           Policy Committee”

           --“Policy Committee agreed to the use of STEPS data if presentation on efficacy and
           tolerability was balanced with a similar presentation of the pivotal clinical trial data”



48. An internal Pfizer email 49 dated July 2, 2002 from Lucy Castro to JohnWolleben

summarized the current situation. “Material currently being used contain information (QoL,

efficacy & tolerability) based on another open label study - STEPS (this is data Andrea and I

spoke to you about several months). We feel it presents the same risk as the use of NEON

data and would like to remove the data from the next POA materials - particularly the QoL

and efficacy data. Unfortunately, all of our promotional materials are based on these two

studies. Without these data, we only have the pivotal data for promotion and that data is

weak. We would like to present to the team the position that we should only be using the

open label data to support our safety and tolerability message and would like your

endorsement.”


49. On July 9, 2001, 50 Pfizer’s Dr. O. Lucy Castro wrote to the FDA in response to the FDA’s

letter of June 29, 2001 (see Paragraph 46 supra) that “In response to the FDA's request for



49
     Pfizer AGarrity 0002142
50
     Pfizer Castro 0085965


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     Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 24 of 32




action Pfizer has taken the following steps: 1. Discontinued use of the above mentioned

slim jim. 2. Instructed the sales force to discontinue promotion of the QOL data in the

NEON study. We are in the process of identifying other promotional materials with the

same or similar messages. We will provide the Agency shortly with a detailed list of the

identified pieces and a description of the action taken to remove them from the public

domain.”

                       51
50. On July 9, 2001,         Pfizer’s Rick Burch wrote to the RON Specialty Sales Force stating

“[o]n June 29, 2001, Pfizer received a Notice of Violation letter from the FDA for

“Neurontin POA 1 Slim Jim (ID #NSJ5095A1).” The FDA cites the Slim Jim for

misleading claims regarding improvement in quality of life (QOL) parameters based on the

NEON study. The Agency does not consider the NEON study to be substantial evidence

for claims of QOL improvements because it is not a controlled study. Pfizer has agreed to

address these FDA objections as follows: Immediately discontinue the use of this Slim

Jim and any other promotional material and practices with the same or similar study.

Additionally, the Neurontin STEPs study contains QOL data and is not a controlled study.

Therefore, Pfizer has decided to discontinue the use of any promotional material and

practices containing STEPs QOL data as well. In order to comply with current FDA and

Pfizer policy, you must discontinue use of and destroy any promotional materials

containing reference to NEON or STEPS QOL data, including the following promotional

items…”




51
     Pfizer MBrown 0000374


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Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 25 of 32
   Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 26 of 32




                                     APPENDIX A


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Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 28 of 32




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Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 30 of 32




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   Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 31 of 32




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ADDRESS


          2715 Steiner Street
          San Francisco, California 94123


TESTIFIED AS IN WITNESS AT TRIAL OR IN DEPOSITION IN THE FOLLOWING
CASES OVER THE LAST FOUR YEARS:

           FOR THE UNITED STATES:
           UNITED STATES OF AMERICA, Plaintiff,
           v. PHILIP MORRIS USA INC. f/k/a PHILIP MORRIS INC., et al.,
           Civil No. 99-CV-02496 (GK)

           FOR THE STATE OF CALIFORNIA:
           PEOPLE'S ADVOCATE AND NATIONAL TAX LIMITATION
           FOUNDATION
           V. INDEPENDENT CITIZENS' OVERSIGHT COMMITTEE
           (ALAMEDA COUNTY SUPERIOR COURT, STATE OF CALIFORNIA
           (case # HG05206766)


EXPERT CONSULTATION RATE IN CURRENT CASE:

          $1000/HR




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Case 1:04-cv-10981-PBS Document 1457-11 Filed 10/06/08 Page 32 of 32




                           APPENDIX B

     PFIZER_AGARRITY_0002142      PFIZER_LKNAPP_0009569
     PFIZER_AGARRITY_0002490      PFIZER_LKNAPP_0009645
     PFIZER_AGARRITY_0002499      PFIZER_LKNAPP_0009830
     PFIZER_AGARRITY_0003834      PFIZER_LKNAPP_0013491
     PFIZER_AGARRITY_0005558      PFIZER_LKNAPP_0023060
     PFIZER_AGARRITY_0010045      PFIZER_LKNAPP_0023078
     PFIZER_LCASTRO_0001212       PFIZER_LKNAPP_0024958
     PFIZER_LCASTRO_0003662       PFIZER_LKNAPP_0047459
     PFIZER_LCASTRO_0005072       PFIZER_LKNAPP_0047504
     PFIZER_LCASTRO_0005618       PFIZER_LKNAPP_0070705
     PFIZER_LCASTRO_0006149       PFIZER_MBROWN_0000374
     PFIZER_LCASTRO_0006580       PFIZER_MPATEL_0077867
     PFIZER_LCASTRO_0007272       PFIZER_MPATEL_0202485
     PFIZER_LCASTRO_0008052       PFIZER_MPATEL_0203692
     PFIZER_LCASTRO_0008368       PFIZER_MYODER_0000920
     PFIZER_LCASTRO_0008371       PFIZER_RGLANZMAN_0054596
     PFIZER_LCASTRO_0010377       WLC_CBU_041537
     PFIZER_LCASTRO_0010557       WLC_CBU_057865
     PFIZER_LCASTRO_0011563       WLC_FRANKLIN_0000039559
     PFIZER_LCASTRO_0012132       WLC_FRANKLIN_0000039956
     PFIZER_LCASTRO_0011868       WLC_FRANKLIN_0000039959
     PFIZER_LCASTRO_0073127       WLC_FRANKLIN_0000041545
     PFIZER_LCASTRO_0085964       WLC_FRANKLIN_0000151674
     PFIZER_LESLIETIVE_0013555
